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                          IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF KANSAS

Katie Roberts, pro se
Rosemary Walker, pro se
Thad Snider, pro se
Stacie Harvey, pro se
Hannah Mingucci, pro se                             Civil Case NO. 2:22-cv-02366-JWB-ADM
Melissa Leavitt, pro se
                                     Petitioners,
                                                    Judge: Honorable Judge Crabtree

Vs.


BRYAN CASKEY,
SCOTT SCHWAB,
DEREK SCHMIDT,
LAURA KELLY,
                                   Respondents,

             MOTION FOR COURT TO STRIKE DEFENDANTS RESPONSE


Petitioners hereby compel the Honorable Court to strike the defendants response (Dkt 18)
pursuant to Rule 12(f) in part or whole due to scandalous terms (pg 2) used to describe the
plaintiffs allegations as “conspiracy laden” which is hearsay and slanderous. While the claims
the plaintiffs allege with actual evidence does not favor the defendants, the claims are backed up
with evidence, therefore the term “conspiracy laden” is used by the defendants to deliberately
attempt to discredit the plaintiffs to the Court. The term “conspiracy” is defined as “a secret plan
by a group to do something unlawful or harmful.” This action the defendants are claiming
against the plaintiffs could be a mere projection, as the plaintiffs simply seek truth and for the
defendants to prove their claims to be false through evidence.

In addition, the plaintiffs compel the Honorable Court to strike the defendants response (Dkt 18)
due to false statements to mislead the Court. Defendants claim the court lacks jurisdiction to
handle election matters with State Officials, however according to KS 25-4406(m), mandatory
requirements for electronic or electromechanical systems electronic voting shall meet the
requirements of the help America vote act of 2002 and other federal statutes and regulations
governing voting equipment.


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Furthermore, on January 6, 2017, Elections became a matter of National Security and were
federalized1 when Jeh Johnson declared so. In fact, the Kansas Secretary of State, defendant
Scott Schwab, holds a federal government Top Secret Security Clearance to work with CISA &
DHS that support this critical infrastructure.



                                        CERTIFICATE OF SERVICE

I hereby certify the Motion for Court to Strike Defendants Response was submitted to the US
District Court Clerk via email to be added to the ECF system and a copy mailed on 10/14/2022
                                   via UPSP to the following.

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    https://www.dhs.gov/news/2017/01/06/statement-secretary-johnson-designation-election-infrastructure-critical


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